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AO 442 (Rev. 11/11) Arrest Warrant



                                                  UNITED STATES DISTRICT COURT
                                                                                  for the

                                                                      District    of Columbia


                        United States of America
                                    v.                                              )       Ca,se: 1:211~mj-00457
                                                                                    )       Assigned to: Judge Harvey, G,. Michael
                  Audrey      Ann Southard-Rumsey
                                                                                    )
                   (AKA: Audrey            Ann Southard)                                    Assign Date: 6/11/2021
                                                                                    )
                                                                                    )
                                                                                            Desoription: COMPLAINT WI ARREST WAR.RANT
                                                                                    )
                                      Defendant


                                                                  ARREST WARRANT
To:            Any authorized law enforcement officer


               YOU ARE COMMANDED                    to arrest and bring before a United States magistrate judge without unnecessary delay
(name o/person to be arrested)                                                          Audrey   Ann Southard-Rumsey
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment                  o    Superseding Indictment           o    Information         o    Superseding Information                  11: Complaint
o     Probation Violation Petition                 o   Supervised Release Violation Petition                    o Vio lation      Notice       0 Order of the Court
This offense is briefly described as follows:
 18 U.S.C. § 111(a)(I) - Assault on a Federal Officer or Employee;
 18 U.S.C. § 23 I (a)(3) - Obstruction of Law Enforcement During Civil Disorder;
 18 U.S.c. § 1512(c)(2) - Obstruction of Justice/Congress;
 18 U.S.C. § I 752(a)(I) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority;
 18 U.S.C. § I 752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
 18   U.S.C.    § I 752(a)(4) - Knowingly Engages in any act of Physical Violence Against any Person or Property in any Restricted             Building or Grounds;
 40   U.S.C.    § 5104(e)(2)(D)   - Disorderly Conduct in a Capitol Building;
 40   U.S.C.    § 5104(e)(2)(G)   - Parading, Demonstrating, or Picketing in a Capitol Building;
 40   U.S.C.    § 5104(e)(2)(F)  - Engaging in an act of Physical Violence in the Grounds or any of the Capitol Buildings.
                                                                                                                                    Digitally Signed by G. Michael Harvey
                                                                                                       (,~~~_"---                   Date: 2021.06.01 16:07:40 -04'00'
 Date: __           ~O~6~/O~I~/~20..,...2~1,-_
                                                                                                                    Issuing officer's signature

City and state:                           Washington, D.C.                                   G. Michael Harvey, U.S. Magistrate                          Judge
                                                                                                                     Printed name and title


                                                                                 Return

           This warrant was received on (date)                (0/' I ~;;;I              ,and the person was arrested on (date)                    b   I') I   ()Od) (
at (city and state)       Sp!'~5 tb I \                 \=\   0   r 't cl~                        I




Date:      ~/31dWI
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                                                                                                                                                       ,Fe)
                                                                                                                     Printed name and title
